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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


   IN RE: Jeanette L. DelValle aka Jeanette                           CHAPTER 13
   Morales
                                Debtor(s)

   MANUFACTURERS AND TRADERS
   TRUST COMPANY ALSO KNOWN AS                                    NO. 21-10448 AMC
   M&T BANK SUCCESSOR BY MERGER
   TO HUDSON CITY SAVINGS BANK, FSB
                        Movant
             vs.
                                                                  11 U.S.C. Section 362
   Jeanette L. DelValle aka Jeanette Morales
                                Debtor(s)
   Jesus DelValle
                                Co-Debtor

   Scott F. Waterman
                                  Trustee

                                         STIPULATION

   AND NOW, it is hereby stipulated and agreed by and between the undersigned as follows:

          1.      The post-petition arrearage on the mortgage held by the Movant on the

   Debtor’s residence located at 1378 Anchor Street, Philadelphia, Pennsylvania 19124, is

   $3,370.86 which breaks down as follows:

    Post-Petition Payments: June 2022 through September 2022 in the amount $673.67/month
    Suspense balance :                                  ($361.82)
    Additional Fees and Costs related to Relief Motion: $1,038.00
    Total Post-Petition Arrears                         $3,370.86

          2.      The Debtor shall cure said arrearages in the following manner:

                  a). Within thirty (30) days of the filing of this Stipulation, Debtor shall file

   an Amended Chapter 13 Plan to include the post-petition arrears of $3,370.86.

                  b). Movant shall file an Amended or Supplemental Proof of Claim to include

   the post-petition arrears of $3,370.86 along with the pre-petition arrears;

                  c). The new 410A form for a Proof of Claim shall not be required for this

   Amended or Supplemental Proof of Claim.
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           4.      Beginning with the payment due October 1, 2022 and continuing thereafter,

   Debtor shall pay to Movant the present regular monthly mortgage payment of $673.67 (or as

   adjusted pursuant to the terms of the mortgage) on or before the first (1st ) day of each

   month. All future payments made pursuant to the terms of this Consent Order should be

   forwarded to the following address until further notice:

                                      Bank of America, N.A.
                                        P O Box 660933
                                        Dallas, TX 75266


           5.      Should Debtor provide sufficient proof of payments made, but not credited

   (front & back copies of cancelled checks and/or money orders), Movant shall adjust the

   account accordingly.

           6.      In the event the payments under Section 4 above are not tendered pursuant to

   the terms of this stipulation, Movant may file a Certification of Default with the Court and

   the Court shall enter an Order granting Movant immediate relief from the automatic stay and

   waiving the stay provided by Bankruptcy Rule 4001(a)(3).

           7.      If the case is converted to Chapter 7 and the loan is in default, Movant may

   file a Certification of Default with the Court and the Court shall enter an order granting

   Movant relief from the automatic stay.

           8.      If the instant bankruptcy is terminated by either dismissal or discharge, this

   agreement shall be null and void, and is not binding upon the parties.

           9.      The provisions of this stipulation do not constitute a waiver by Movant of its

   right to seek reimbursement of any amounts not included in this stipulation, including fees

   and costs, due under the terms of the mortgage and applicable law.

           10.     The parties agree that a facsimile signature shall be considered an original
   signature.
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   Date: August 2, 2022                            /s/ Rebecca A. Solarz, Esquire
                                                   Rebecca A. Solarz,, Esquire
                                                   KML Law Group, PC.
                                                   Attorney for Movant




   Date: 9/12/2022                                /s/ David M. Offen, Esquire
                                                  _____________________________
                                                  David M. Offen, Esquire
                                                  Attorney for Debtor(s)




   Date: 9/13/2022                                 /s/ Ann E. Swartz, Esquire for
                                                   _____________________________
                                                   Scott F. Waterman, Esquire
                                                   Chapter 13 Trustee




   Approved by the Court this ___ day of                                , 2022. However, the
   court retains discretion regarding entry of any further order.




     Date: September 19, 2022
                                                   Bankruptcy Judge
                                                   Ashely M. Chan
